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Attorneys for Defendant RAMON DESAGE

                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA

UNITED STATES OF AMERICA
                                                 Case No.: 2:13-cr-00039-JAD-VCF
               Plaintiff,
                                                 UNOPPOSED MOTION TO TRAVEL AND
       vs.
                                                 PROPOSED ORDER
RAMON DESAGE

               Defendant.



       Comes now, Defendant Ramon Desage, by and through his counsel, Richard A. Wright,

Esq. and Richard B. Herman, Esq., and hereby moves this Court for permission to travel from

Las Vegas, Nevada to Los Angeles, California on Thursday, March 10, 2016 and returning same

day. While in Los Angeles, Mr. Desage will be meeting with legal counsel.

       On March 7, 2016, Richard B. Herman, Counsel for Mr. Desage, personally discussed

this request with Pre-Trial Services Officer Zach Bowen, who advises he consents to this travel

request. Mr. Desage will continue with electronic monitoring and will abide by all other bail

conditions. Upon his return to Las Vegas, Mr. Desage will give a courtesy call to Officer Zach

Bowen.
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       Counsel for Mr. Desage has discussed this request with Assistant United States Attorney

Gregory Damm, who has no opposition to it.



       DATED this 7th Day of March, 2016


                                                   Respectfully submitted:


                                                   ____/s/ Richard A. Wright__________
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                                                   _____/s/ Richard B. Herman_________
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                                                   Attorney for Defendant, Ramon Desage
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                                          ORDER

       This matter having come before the Court on the unopposed motion of Defendant Ramon

Desage, and good cause appearing, Defendant’s Motion for Permission to Travel to Los Angeles

for the day on March 10, 2016 is GRANTED.




Dated: March 8, 2016                             ___________________________________
                                                 HONORABLE JENNIFER A. DORSEY



Respectfully submitted by:

WRIGHT STANISH & WINCKLER

____/s/ Richard A. Wright__________
RICHARD A. WRIGHT



RICHARD B. HERMAN, P.C.

_____/s/ Richard B. Herman_________
RICHARD B. HERMAN
